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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 RECEIVED
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO. Case
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 10 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 11 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 12 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 13 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 14 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 15 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 16 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 17 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 18 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 19 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 20 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 21 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 22 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 23 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 24 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 25 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 26 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 27 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 28 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 29 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 30 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 31 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 32 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 33 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 34 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 35 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 36 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 37 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 38 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 39 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 40 ofNYSCEF:
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NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 41 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 42 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 43 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 44 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 45 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 46 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 47 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 48 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 49 ofNYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/15/2020 05:07 PM                            INDEX NO. 160694/2019
NYSCEF DOC. NO.Case
                102 1:20-cv-07311-LAK Document 14-103 Filed 09/15/20 Page 50 ofNYSCEF:
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